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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT HOLTON,                                     CIVIL ACTION
        Plaintiff,

       v.                                          N0.18-2228

BOBBY HENON, et al.,
        Defendants.

                                      ORDER

       AND NOW, this 28th day of May 2019, upon consideration of Defendants'

Motion to Dismiss Plaintiff's Second Amended Complaint (ECF No. 25),

Plaintiff's Response in Opposition (ECF No. 28), and Defendants' Reply (ECF No.

29), and in accordance with the accompanying memorandum, it is hereby

ORDERED that Defendants' Motion to Dismiss Plaintiff's Second Amended

Complaint (ECF No. 25) is GRANTED. The Clerk of Court is directed to close

this matter.



                                             BY THE COURT:




                                             CHADF.
